
Moncure, J.
I concur in the decree, except that I think the appellee Lyons should have his costs as the party substantially prevailing, on the principle of the case of Handly v. Snodgrass, 9 Leigh 484, and the cases therein referred to, especially the case of Roberts v. Jordans, 3 Munf. 488.
The decree of the court was as follows:
The court is of opinion there is no error in so much of the decree as dissolved the injunction and dismissed the hill as to all the defendants except the appellant; or as adjudged and ordered that the appellee Lyons *58pay to the defendants in the court below, except the appellant, their costs; or as adjudged that the appellee Lyons was entitled to recover of the appellant 108 dollars 3 cents, with interest on 100 dollars, part thereof, from the 1st April 1841, that being the amount of the judgment at law sought to be enjoined, and also the costs by the appellee, the said Lyons, in that behalf expended. But the court is further of opinion that said decree is erroneous in authorizing the appellee, the said Lyons, to proceed at once to enforce payment of the decree in his favor against the appellant before he had exhibited evidence that said judgment enjoined had been paid, or that the appellant had been released from his liability as assignor of the note upon which the judgment was rendered. Therefore reversed, with costs, so far as the same is herein declared to be erroneous, and affirmed in all other respects; and cause remanded with instructions to retain the cause as between the appellant and the appellee Lyons, with liberty to the appellee Lyons to move for leave to sue out execution for the debt, interest and costs decreed in his favor against the appellant, upon showing to the court that he has paid off the amount of the judgment mentioned in the bill, and thereby sought to be enjoined, or that the appellant has otherwise been released and discharged from all liability as assignor of the note upon which judgment was rendered.
